         Case 1:20-cv-00153-RP Document 9 Filed 02/12/20 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                                                                  2020   FEB 12    Mi   &   05
                                 AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
         Plaintiff,               §
                                                       §
v.                                                     §          CASE # 1:20-CV-0015
                                                       §
BRANDI K STOKES,                                       §
              Defendant.                               §

                            MOTION FOR DE NOVO REVIEW

       NOW COMES Defendant, Brandi K Stokes, and files this Motion for De Novo Review,

and shows the Court the following:

       On February 11, 2020, Magistrate Judge Mark Lane entered a "text order" denying the

Defendant's Application to Proceed in District Court Without Prepaying Fees or Costs. The

Defendant's application was incorrectly docketed as a Motion for Leave to Proceed in forma

pauperis. While the Defendant has become indigent and has been declared indigent in state court,

the Defendant's grounds for requesting to proceed without prepaying fees or costs is not based

upon indigency. Further, Magistrate Judge Mark Lane is disqualified as matter of law from

participating in proceedings involving the Defendant and a Motion to Disqualify or Recuse was

pending against him at the time that he entered the "text order". The Defendant, therefore,

requests a de novo review of the Magistrate's order.

       The Defendant prays that this motion be granted in its entirety. Defendant further requests

an evidentiary hearing after the appointment of competent counsel.

DATED: February 12, 2020


                                             Brandi K Stokes, Defendant
                                             Texas State Bar No. 24044940

                                               1
           Case 1:20-cv-00153-RP Document 9 Filed 02/12/20 Page 2 of 2




                                           brandi.stokesgmai1.com +1 512 206 0202

                              CERTIFICATE OF SERVICE

       Icertify that on February 12, 2020, a true and correct copy of the above was served on
counsel for the Plaintiff through CMRRR at the address listed for Plaintiff




                                           Brandi K Stokes




                                             2
